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                                    STATEMENT OF FACTS

         On October 1, 2020, at approximately 9:17 AM a FBI Task Force Officer was acting in an

undercover capacity as part of the Metropolitan Police Department-Federal Bureau of Investigation

(“MPD-FBI”) Child Exploitation Task Force, operating out of a satellite office in Washington, D.C.

In that capacity, the Under Cover Employee (UCE) entered a public KIK1 group titled, “#you.ngshare”

with a group display name of “Safe place.” Upon entering the group a rules banner appeared outlining

the rules of the group. The banner read, “-Hello and welcome! Send 3 images or videos to the owner

or admin to verify! – Three minutes to verify – Share here don’t pm.”

         Upon entering the group the UCE introduced himself as a 33-year-old dad with a daughter. On

October 1, 2020, an administrator2 of the group using the KIK name, “matt11clashofclans,” and

showing display name “Matt S,” who was later identified as Matthew Hunter Sharp (hereinafter

SHARP), initiated a private KIK message with the UCE. SHARP asked the UCE to “verify.” 3 The

UCE sent an image of his purported eight-year-old daughter clothed. 4 SHARP responded, “I either

need cp 5 or it needs to be a live photo.” The UCE sent SHARP a live photo of his purported daughter.

SHARP thanked the UCE and verified him. SHARP further stated that most users in the group are “cp



1
 Kik is a freeware instant messaging mobile application where one can transmit and receive
messages, photos, videos, sketches, mobile webpages, and other content.
2
 The administrator in a KIK Group is responsible for inviting new members to the group,
banning members from the group, and establishing the rules of the group. There may be multiple
administrators of a single group, each with these privileges.
3
 Based on her training and experience, your affiant is aware that “verify” means to prove that a
user has access to children or possesses child pornography.
4
    This photograph and the other photographs sent by the UCE did not depict a real child.
5
 Based on her training and experience, your affiant is aware that “cp” is an abbreviation for
child pornography.

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collectors.”

        A. # You.ngshare KIK Group Activity

        Between October 1 and November 17, 2020, over 400 users joined the #you.ngshare group for

varying amounts of time, although the group was limited to 50 users at any given time. During this

period, various users within the group continued to share images and videos of child pornography and

discussed the sexual abuse of children. For example, on October 1, 2020, when a new user with display

name, “H+P 123” joined the chat, SHARP, in his role as administrator stated “Verify w mr[sic],” “me,”

then “Hp verified.” SHARP then posted two videos to the group:

    •   A twenty five second video file depicting a female child approximately nine to eleven years

        old nude from the waist down on her hands and knees on a bed, exposing her anus and vagina

        to the camera. She then turns around, waves to the camera, and engages in mouth to penis

        contact with an adult male who appears to be holding the camera.

    •   A fourteen second video file depicting a female child approximately six to eight years old

        engaging in mouth to penis contact with an adult male who appears to be holding the camera.

After SHARP posted the videos, user “jeffalbertson70” stated “good girls.”

        October 9, 2020, KIK user “Scrappydo89” showing a display name of “Mike Blah,” who was

later identified as Michael Lanham (hereinafter LANHAM) 6, sent the following files to the

#you.ngshare group:

    •   A video file thirty four seconds in length depicting an approximately four to six year old female

        child lying on a bed with her dress pulled up exposing her vagina. An adult male rubs his penis

        against her vagina until he ejaculates on her.


6
 Lanham was arrested by the FBI on October 29, 2020 pursuant to an arrest warrant authorized
by Hon. G. Michael Harvey, United States Magistrate Judge for the District of Columbia

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   •   A video file eleven seconds in length which consists of several videos spliced together. The

       first depicts an approximately five to seven year old female child sucking on an adult male

       penis, and the third depicts an adult male penis penetrating a prepubescent female child’s

       vagina.

   •   A video file one minute 49 seconds in length depicting a female child approximately two to

       four years old, naked from the waist down, in the lap of an adult male being vaginally

       penetrated by his penis.

       On October 3, 2020, user “baddaddy1973,” showing a display name of “Gear Head” who was

later identified as Kenneth Jevon Hale (hereinafter HALE), while also acting as an administrator of the

#you.ngshare group to verify new members, posted a one minute twenty four second file to the group

which depicted a female child approximately seven to nine years old engaging in mouth to penis

contact with an adult male. HALE then stated “from odin.” Shortly after, HALE also posted a one

minute fifty nine second video to the group which depicted an adult male nude on a bed with a female

child approximately four to six years old. The man picks up the child’s dress, and positions her on her

hands and knees before pulling down her underwear and penetrating her anally or vaginally with his

penis while kneeling behind her. After posting this video, HALE stated “from hec.” Also, on October

19, 2020, in response to a user with display name “Elizabeth.” posting a video of an adult female

engaging in mouth to penis contact with a prepubescent male child, HALE stated “Mmm mom sucking

her son vid never gets old.”

                 On October 11, 2020 user “baggy8444” sent a video to the #you.ngshare group which

depicts a naked adult male penetrating a naked prepubescent child, approximately ten to twelve years

old, from behind. He then messaged the group “Anyone have vids like this? Don’t have to be as rough

just love it when they cry ” On October 12, 2020, user “baggy8444” sent an image of an adult female


                                                  3
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sucking on the penis of a male child who appears to be approximately one to three years old. User

“nofar.ma” responded “Lol its looks fun so suck one like this” and “Not a lot of work.” Another user

with a display name of “John Doe” responded “Nice” to which user “baggy8444” responded “Not

much to Fill her mouth up with thou lol.”

       On October 13, 2020, user “marvinmash,” showing display name “PBJ PBJ,” and later

identified as Shaun Jason Marvin (hereinafter MARVIN) posted a one minute video to the group which

depicts two female children approximately eleven to thirteen years old sitting nude on the floor, while

on camera they remove their clothes, spread their legs apart and expose their bare vaginas directly into

the camera. On October 15, 2020, MARVIN also posted a one minute fifty six second video file which

consists of approximately eighteen videos spliced together, all of which depict the faces of

prepubescent female children as men ejaculate on their faces or in their mouths. The video file opens

with the following words printed on the screen “Sweet release… Girls getting showered in CUM.” On

October 17, 2020 MARVIN also posted a forty nine second video file to group which depicts a female

child approximately nine to eleven years sitting on the floor nude. The child turns around while on her

hands and knees and spreads her buttocks apart with her hands exposing her anus and vagina to the

camera and then sits with her legs spread apart exposing her vagina to the camera before masturbating

for the camera.

       On October 18, 2020, user “syrensong55,” showing a display name of “Syren Kyng,” who was

later identified as Michael Lee Otis-Currie (hereinafter OTIS-CURRIE) posted a mega.nz link 7 to the

group and stated “I just posted a link now u post a cp link.” Three minutes later OTIS-CURRIE stated




7
 Based on her training and experience, your affiant is aware that Mega.nz is a secure cloud
based file sharing system which allows users to provide others with web browser links to access
content which has been uploaded for sharing.

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“watch he not post a cp link after I just did.” On November 9, 2020, an FBI Agent accessed the link

provided by OTIS-CURRIE. The link routed to a folder labeled “cp” which contained approximately

2,250 image and video files the majority of which are videos constituting child pornography. For

example a one minute fifty nine second video depicting a prepubescent female child lying on her back

nude with her legs spread apart exposing her vagina. She is bound with rope around her thighs and

calves as well as having her wrists bound over her head with the same rope. Ad adult male engages in

hand to vagina contact with the child while the child engages in mouth to penis contact with the adult

male. The folder also contained a subfolder titled “incest” which contained approximately 250

additional images and videos of child pornography and child erotica. For example, this folder contained

a twelve minute fifty six second video depicting a nude female prepubescent child and a nude adult

male, both wearing masks. During the video the adult engages in hand to vagina contact with the child

as well as penetrates her vagina with his penis and with a vibrator. The child also engages in mouth to

penis contact with the adult male.

       In addition to communications within the group, the UCE engaged in direct message

communications with HALE. On October 13, 2020 the following conversation occurred between the

UCE and HALE:

       HALE: Nice conversation in group. I did same with my 8 yo daughter years ago. Sadly no pics.
       Would love to relive it thru pics u post if ur daughter
       UCE: Nice, yeah I don’t have full custody but play when she sleeps and take lives
       HALE: Cool. When will u get her next
       HALE: I use to live to play with mine especially loved when she got scared and had to sleep
       in bed with me and wife.
       UCE: Mmmmm, not sure hopefully next week
       HALE: Like I said I sure hope so. Would love to relive that thru u n ur daughter. Was so damn
       hot
       HALE: Especially loved cumming in her mouth while she was sleep on the couch

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       UCE: Mmmmm yes
       UCE: I’ll be back in a bit have to dun some errands
       HALE: Got the tip of my cock parting her lips too. It getting moist felt so good. Also used her
       hand to jerk me off on her.


       B. Identification of #You.ngshare KIK Group Participants

       The FBI served Administrative Subpoenas on KIK requesting subscriber information and

IP activity for users “matt11clashofclans,” “baddaddy1973,” “marvinmash,” and “syrensong55.”

               1. Matthew Hunter SHARP

       In response to the administrative subpoena for subscriber and IP log information associated

with KIK user “matt11clashofclans,” KIK provided records indicating that the account has a display

name of “Matt S” and an associated email address of msharpcsa@outlook.com. The user provided date

of birth was listed as 08/19/2001. IP log information spanning September 5, 2020 to October 5, 2020,

was also provided, and identified a Charter Communications IP address, 65.25.5.18, routinely used to

access the target account, as well as several T-Mobile IPV4 natting IP addresses. 8 In response to an

administrative subpoena, Charter Communications provided records indicating that at the date and

times IP address 65.25.5.18 was used to access the “matt11clashofclans” KIK account, it was

subscribed to by              with a service address at                                       . Using

law enforcement databases, Wright’s Facebook account was located. A query of the publically

available “friends” section of this page located a Facebook page for an individual with a display name

of “Matthew Sharp.” A query of the Ohio Department of Motor Vehicles database identified a valid

driver’s license for MATTHEW HUNTER SHARP with a date of birth of                      (the same date



8
 Based on her training and experience, your affiant is aware that T-Mobile does not maintain
subscriber information for individuals utilizing IPV4 natting IP addresses.

                                                  6
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of birth associated with KIK user “matt11clashofclans” KIK account) and an address of

                                               The driver’s license photograph of SHARP appears to

depict the same individual as seen in the profile picture for the Facebook page for “Matt Sharp”

referenced above. A subscription database query for SHARP identified his current address as

                                       (the address associated with the IP address used to access the

“matt11clashofclans” KIK account) reported on October 25, 2020 by Experian Gateway. Surveillance

of the                      residence on or about December 17, 2020 revealed two males exiting the

residence, get into vehicles parked outside the residence, and drive away. One of the two males

appeared to be SHARP.

                2. Kenneth Jevon HALE

         In response to the administrative subpoena for subscriber and IP log information associated

with KIK user “baddaddy1973,” KIK provided records indicating that the account has a display name

of “Gear Head” and an associated email address of bad_ol_boy07@yahoo.com. The user provided

date of birth was listed as 12/7/1973. IP log information spanning September 5, 2020 to October 5,

2020, was also provided, and identified a Suddenlink IP address, 173.80.24.154, routinely used to

access the target account, as well as several Sprint IP addresses. 9 In response to an administrative

subpoena, Suddenlink provided records indicating that at the date and times IP address 173.80.24.154

was used to access the “baddaddy1973” KIK account, it was subscribed to by

with a service address at                                               A subscription database was

utilized to identify other phone listings at             ’s address, which included KENNETH JEVON

HALE. A search of HALE in the same subscription database identified a Kenneth Jevon Hale, date of



9
 Based on her training and experience, your affiant is aware that Sprint does not maintain
subscriber information for individuals utilizing their IP addresses.

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birth as              e-mail bad_ol_boy07@yahoo.com, current address as

                and previous addresses in North Carolina. Law enforcement databases were also utilized

to identify a Skype account associated with email address bad_ol_boy07@yahoo.com and display

name “elah nek.” 10 A valid driver’s license for Kenneth Hale was located via a query of the North

Carolina Department of Motor Vehicles database, identifying KENNETH JEVON HALE with a date

of birth of            Surveillance of the                        esidence on or about December 29,

2020, revealed a silver Ford F150 parked on the lawn, with North Carolina license plate

DMV records indicate the registered owner is Kenneth HALE.

                 3. Shaun Jason MARVIN

         In response to the administrative subpoena for subscriber and IP log information associated

with KIK user “marvinmash,” KIK provided records indicating that the account has a display name of

“PBJ PBJ” and an associated and confirmed email address of shaun.marvin@gmail.com. The user

provided date of birth was listed as            IP log information spanning October 4, 2020, to October

15, 2020, was also provided, and identified a Comcast IP address, 75.70.117.71, repeatedly used to

access the target account, as well as several T-Mobile IPV4 natting IP addresses. In response to an

administrative subpoena, Comcast Communications provided records indicating that at the date and

times IP address 75.70.117.71 was used to access the “marvinmash” KIK account, it was subscribed

to by Shaun Marvin, with a service address at

A query of the Colorado Department of Motor Vehicles database identified a valid driver’s license for

SHAUN JASON MARVIN with a date of birth                      A query of a subscription database located

MARVIN’s current address as                                                       According to El Paso

County, Colorado property records, MARVIN is the owner of


10
     “elah nek” is Ken Hale spelled backwards

                                                    8
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              purchased in February 2016.

                4. Michael Lee OTIS-CURRIE
        In response to the administrative subpoena for subscriber and IP log information associated

with KIK user “syrensong55,” KIK provided records indicating that the account has a display name of

“Syren Kyng” and an associated email address of starkyng913@gmail.com. IP log information

spanning September 21, 2020, to October 21, 2020, was also provided, and identified two Frontier

Communications IP addresses, 47.137.101.107 and 47.137.97.68, which were routinely used to access

the target account. In response to an administrative subpoena, Frontier Communications provided

records indicating that at the date and times IP addresses 47.137.101.107 and 47.137.97.68 were used

to access the “syrensong55” KIK account, they were subscribed to by                       with a service

address o                                               In response to an administrative subpoena, Google

provided subscriber information for email address starkyng913@gmail.com, which includes the

recovery phone number                      In response to a request for subscriber information for the

Mega.nz link sent by “syrensong55”, Mega Limited voluntarily provided the creator of the account as

“rainbowkyng@gmail.com”. Mega Limited also provided 45 related email accounts to

rainbowkyng@gmail.com,                which             included          michaelcurrie531@gmail.com;

michaelcurrie967@gmail.com; michaelotiscurrie@gmail.com;. A query of subscription databases

located additional residents at                                            including Michael Lee OTIS-

CURRIE, with telephone number                      (the same recovery phone number associated with the

email address associated with the “syrensong55” KIK account). A query of the California Department

of Motor Vehicles database identified MICHAEL LEE OTIS-CURRIE with a date of birth of

            and address                                                      Surveillance of the

                 residence on or about December 29, 2020 revealed a Chevy SUV parked on the street

in front of the residence, with California license plate             DMV records indicate the registered

                                                    9
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owner is Michael Lee Otis. A check of OTIS-CURRIE’s criminal history located a previous arrest for

possession and distribution of child pornography. Additionally, as of December 10, 2020, there is an

active arrest warrant for OTIS-CURRIE from Los Angeles County, CA charging him with obscenity.



                                                     Respectfully submitted,



                                                     Emily Eckert
                                                     Special Agent
                                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 based
on information communicated by telephone on this 6th day of January, 2021

                       G. Michael
                       Harvey
__________________________________
The Honorable G. Michael Harvey
United States Magistrate Judge




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